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15   Platforms, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19
      WHATSAPP LLC, and                 )
20                                      )             Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
21                                      )             LOCAL RULE 79-5(F)(3) STATEMENT
                      Plaintiffs,       )             IN RESPONSE TO DEFENDANTS’ AD-
22                                      )             MINISTRATIVE MOTION TO CON-
             v.                         )             SIDER WHETHER ANOTHER
23                                      )             PARTY’S MATERIAL SHOULD BE
24    NSO GROUP TECHNOLOGIES LIMITED )                FILED UNDER SEAL
      and Q CYBER TECHNOLOGIES LIMITED, )
                                        )             Ctrm:    3
25                                      )             Judge:   Hon. Phyllis J. Hamilton
                      Defendants.       )
26                                      )             Action Filed: October 29, 2019
                                        )
27                                      )
                                        )
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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this Statement in Response to De-

 4   fendants’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 5   Under Seal (the “Administrative Motion”) filed by Defendants NSO Group Technologies Limited

 6   and Q Cyber Technologies Limited (“NSO”). Dkt. No. 410. The Administrative Motion identifies

 7   Exhibits 1-6 to the parties’ joint letter brief regarding Plaintiffs’ preservation of mobile phones (the

 8   “Materials”) as referencing or containing information designated as “Highly Confidential – Attor-

 9   ney’s Eyes Only” by Plaintiffs.

10          Plaintiffs request that the Court keep the Materials under seal, and do so pursuant to Local

11   Rules 79-5(c) and (d). The Materials comprise or refer to materials that have been designated and

12   produced in discovery as “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31,

13   2020 Stipulated Protective Order (Dkt. No. 132). Exhibits 1 through 5 reflect deposition testimony

14   describing internal business practices of Plaintiffs. In addition, Exhibits 2, 5, and 6 contain the

15   names of certain of Plaintiffs’ non-testifying employees whose identities are not pertinent to any

16   issue, claim, or defense in this Action. See Dkt. No. 410-2, Exs. 2, 5, and 6. Exhibit 6 also lists the

17   individual compensation of several of Plaintiffs’ employees. See Dkt. No. 410-2, Ex. 6

18          The appropriate standard for sealing here is “good cause.” The Materials are attached to

19   NSO’s discovery motion—a non-dispositive motion that only tangentially relates to the case—so

20   the moving party need only show “good cause” for why the documents should remain under seal.

21   Wells Fargo & Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

22   (Hamilton, J.). “Good cause” requires only “a particularized showing” that sealing is appropriate,

23   which “will suffice to seal documents produced in discovery.” Kamakana v. City & Cty. of Hono-

24   lulu, 447 F.3d 1172, 1180 (9th Cir. 2006); see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809

25   F.3d 1092, 1097 (9th Cir. 2016) (“Applying the good cause standard from Rule 26(c) as an excep-

26   tion for discovery-related motions makes sense, as the private interests of litigants are ‘the only

27   weights on the scale.’” (quoting Kamakana, 447 F.3d at 1180)).

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMIN. MOTION TO CONSIDER WHETHER AN-
     OTHER PARTY’S MATERIALS SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
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 1          Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

 2   that confidential business information and individuals’ personal identifying information satisfies

 3   the compelling reasons standard, which is far more “exacting” than the good-cause standard appli-

 4   cable here. See Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023)

 5   (granting plaintiff’s renewed sealing motion with respect to information including “confidential

 6   business information” and “internal decisionmaking processes”); Nursing Home Pension Fund v.

 7   Oracle Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found

 8   that compelling reasons exist to keep personal information confidential to protect an individual’s

 9   privacy interest and to prevent exposure to harm or identity theft.” (citing Foltz v. State Farm Mut.

10   Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003))); see also In re Sony Gaming Networks & Cus-

11   tomer Data Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting

12   sealing records where the records were “subject to a contractual duty of confidentiality” and where

13   “harm could result to [the parties’] business operations” if the information were prematurely dis-

14   closed); In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that

15   the parties established compelling reasons to file under seal records that implicate “confidential

16   business information” subject to confidentiality agreements); O’Connor v. Uber Techs., Inc., 2015

17   WL 355496, at *2 (N.D. Cal. Jan. 27, 2015) (“[R]edaction of [their] identifying information is par-

18   ticularly appropriate here, because the public’s interest in the name of [an employee] is likely insig-

19   nificant, as the exact name is irrelevant to the legal issues in this case.”); Ehret v. Uber Techs., Inc.,

20   2015 WL 12977024, at *2-3 (N.D. Cal. Dec. 2, 2015) (holding that names and individual earnings

21   may be redacted under both the good cause and compelling reasons standard as the information

22   “concerns privacy interests”).

23          The Materials contain sensitive, personal information that is not available to the public, nor

24   are the details pertinent to the issues raised in NSO’s discovery motion. Publicly disclosing the

25   Materials would risk harm to Plaintiffs’ business, would provide competitors an unfair advantage

26   by providing access to internal business deliberations, and would pose a risk of harm to the privacy

27   interests of Plaintiffs’ individual employees. In addition, the public disclosure of Plaintiffs’

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 1   employees’ names in connection with litigation has sometimes been followed by harassment, online

 2   threats, and/or suspicious phone calls, text-messages or emails, particularly in cases with significant

 3   media attention. There is little, if any public interest, in those identities, so the private interests jus-

 4   tify sealing. This harm could not be mitigated by any means less restrictive than sealing.

 5           For the foregoing reasons, Plaintiffs request that the Materials that NSO submitted remain

 6   under seal. This request is narrowly tailored to only sealable material.

 7

 8    Dated: October 8, 2024                          Respectfully Submitted,

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